Case 5:18-cv-00323-JSM-PRL Document 25 Filed 09/07/18 Page 1 of 2 PageID 287



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

NEIL DYER,

       Plaintiff,                                          Case No.: 5:18-CV-00323-JSM-PRL

v.

BANK OF NEW YORK MELLON and
JP MORGAN CHASE BANK, N.A.,

      Defendants.
___________________________________/

     PLAINTIFF’S NOTICE REGARDING TIMING OF FILING RESPONSE TO THE
           BANK OF NEW YORK MELLON'S MOTION FOR SANCTIONS

       COMES NOW, Plaintiff, Neil Dyer, by and through undersigned counsel, and files this

Notice Regarding Timing of Filing Response to The Bank of New York Mellon's Motion for

Sanctions and states the following:

       1. On August 16, 2018, Defendant, The Bank of New York Mellon ("BONY") filed its

Motion for Sanctions in this case.

       2. Pursuant to Local Rule 3.01(b), Plaintiff's response to the Motion for Sanctions was

due August 30, 2018.

       3. Plaintiff's counsel attempted to file Plaintiff's Objection to the Motion for Sanctions

starting at about 10:30 p.m. August 30, 2018, but was unable to log in to the CM/ECF system.

Plaintiff's Counsel believes there must have been an issue with the proper operation of the

CM/ECF system during the evening of August 30, 2018.

       4. Due to Plaintiff's Counsel's inability to log in to the CM/ECF system on August 30,

2018, the Objection was filed a day late on August 31, 2018.
Case 5:18-cv-00323-JSM-PRL Document 25 Filed 09/07/18 Page 2 of 2 PageID 288



        5. Pursuant to Local Rule 3.1, Plaintiff's Counsel has contacted Defendant's Counsel and

they are not opposed to the Objection filed August 31, 2018 being accepted as filed.

        WHEREFORE, based on the foregoing, Plaintiff now asks and moves this Honorable

Court to accept Plaintiff's Objection to Bony's Motion for Sanctions as timely filed.

                                             Respectfully Submitted,

                                             /S/Andrea M. Roebuck_
                                             Andrea M. Roebuck, Esq.
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                                             Best Defense Law, P.A.
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                                             Lake Mary, FL 32746
                                             Primary E-mail: aty.assistant@gmail.com
                                             Secondary: ammrroebuck@gmail.com



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

via the CM/ECF system to the following parties: Gina L. Bulecza, Esq., McGlinchey Stafford,

PLLC,     10407     Centurion     Parkway     N.,   Suite    200    Jacksonville,       FL.   32256,

gbulecza@mcglinchey.com mnew@mcglinchey.com; Matthew D. Morton, McCalla Raymer,

LLC., 201 N. Franklin St. Ste. 1375 Tampa, FL 33602, matthew.morton@mccalla.com, on

this 7th day of September 2018.


                                             /S/Andrea M. Roebuck
                                             Andrea M. Roebuck, Esq.
